                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


THE LAMPO GROUP, LLC, a Tennessee                   )
Limited Liability Company doing business as         )
Ramsey Solutions,                                   )
                                                    )
        Plaintiff and Counter-Defendant,            )
                                                    )
v.                                                  )      Civil No. 3:20-cv-00641
                                                    )      Judge Trauger
MARRIOTT HOTEL SERVICES, INC.,                      )
a Delaware Company,                                 )
                                                    )
        Defendant and Counter-Plaintiff.            )

                                            ORDER

        A discovery dispute telephone conference was held with counsel for the parties on

December 14, 2021. It is hereby ORDERED that the defendant shall make expert disclosures by

December 23, 2021.

        It is so ORDERED.



                                                    ________________________________
                                                    ALETA A. TRAUGER
                                                    U.S. District Judge




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